                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
            v.                       )  Criminal No. 19-CR-10081
                                     )
(1)   GORDON ERNST,                 )
(2)   DONNA HEINEL,                 )
(3)   LAURA JANKE,                  )
(4)   ALI KHOSROSHAHIN,             )
(5)   STEVEN MASERA,                )
(6)   MIKAELA SANFORD,              )
(7)   MARTIN FOX,                   )
(8)   IGOR DVORSKIY,                )
(9)   LISA “NIKI” WILLIAMS,          )
(10) WILLIAM FERGUSON,               )
(11) JORGE SALCEDO, and             )
(12) JOVAN VAVIC,                   )
                                     )
                  Defendants.        )
____________________________________)


               DEFENDANT DONNA HEINEL’S MOTION TO CONTINUE

       Defendant Donna Heinel respectfully requests that the Court continue the date for her

initial appearance until any day during the week of April 8, 2019, preferably. As grounds for her

Motion, Ms. Heinel states that her counsel, Nina Marino, will be traveling out of state on March

25, 2019, which is the current date set for Ms. Heinel’s initial appearance.

       Counsel for the government has informed defense counsel that the government takes no

position on this Motion.
                                              Respectfully submitted,

                                              DONNA HEINEL,
                                              By her attorneys,


                                               /s/ Michelle R. Peirce__________
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Dated: March 22, 2019


                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-participants on March 22, 2019.


                                               /s/ Michelle R. Peirce__________
                                              Michelle R. Peirce




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